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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                           X

UNITED STATES OF AMERICA,                      09 Cr. 898   (CS)

                - v-

BRIAN RUBEL,

                         Defendant.

                                           X




                           SENTENCING MEMORANDUM




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                                                          June 21, 2018




           Honorable Cathy Seibel
           United States District Judge
           Southern District of New York
           United States Courthouse
           3 00 Quarropas Street, Room 621
           White Plains, NY 10601

                    Re:     United States v. Brian Rubel
                            0 9 Cr. 898 (CS)

           Dear Judge Seibel:

               This memorandum is written in response to Government
          Memorandum (04/06/18) which petitions this Court to amend and
          replace Brian Rubel's special conditions of supervised release.
          In order for the special conditions to comply with the
          requirements of 18 U.S.C. §3583(d) they must be "reasonably
          related" to the factors considered when imposing a sentence;
          further, the conditions must "involve[]no greater deprivation of
          liberty than is reasonably necessary for the purposes" of
          imposing a sentence. (quoting 18 U.S.0 § 3583(d) ) . When imposing
          special conditions, "a district court may not delegate to the
          Probation Department decisionmaking authority which would make a
          defendant's liberty itself contingent on a probation officer's
          exercise of discretion." United States v. Matta, 777 F.3d 116,
          122 (2d Cir. 2015) .

                The Computer Monitoring Condition, as originally worded, is
           tainted by this impermissible vagueness, which gives too much
           discretion to the United States Probation Office ("Probation" or
           "Probation Office") . Thus, the Government's replacement
           recommendation is warranted. For the above -mentioned reasons,
           this Court should accept proposed conditions one, two, three,
           and seven. Proposed conditions four, five, and six fail to
           provide sufficient guidance to the Probation Office and, thus,
           should be rewritten to comply with the requirements of 18 U.S.C.
           § 3583(d) .
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Background

       The special conditions of supervised release at issue were
originally imposed by this Court on November 19, 2010.
( Indictment 09 Cr. 898) . On September 14, 2016, after Rubel
violated the terms of his supervised release, this Court imposed
a sentence of 12 months' imprisonment followed by a life term of
supervised release with the same special conditions as those
f rom his November 19, 2010 sentence. (Violation Report 2) .

       On appeal, the Second Circuit remanded the case and ordered
the parties and the Probation Office to "supplement the record
. . . [to] clarify whether the 'Computer/Internet Monitoring
program' condition prohibits [Mr. Rubel] from accessing social
media or the internet or both." (Appellate Docket 37, 53) . The
Second Circuit instructed that if such a prohibition was found,
" the parties shall brief, for [this C]ourt's consideration, and
[ this C]ourt shall determine, whether the prohibition 'involves
no greater deprivation than is reasonably necessary. '"
( Appellate Docket 78 (quoting United States v. Dupes, 513 F.3d
3 38, 343-44 (2d Cir. 2008) ) ) .

     On their face, the original prohibitions do not constitute
a blanket ban on the internet, or, as in Packingham v. North
Carolina, 137 S. Ct. 1730, 1737(2017) , a complete ban on social
media. Thus, the decision in Packingham does not directly affect
Rubel. Packingham involved a general internet ban which remained
in place even after Packingham had completed his sentence.  Id.
at 1737. Nevertheless, the special conditions of his supervised
release must still conform to the aims of sentencing set out in
18 U.S.C. §3583(d) .

      As was discussed in this Court's November 13, 2017
c onference, this special condition gave the Probation Office
impermissible delegations of judicial authority over Rubel's
supervised release. The Government acknowledged this and
requested to replace Rubel's original terms of supervised
release for a more streamlined version. (Govt. Mem. 04/06/18) .
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Proposed conditions one, two, three, and seven are acceptable
replacements. However, proposed conditions four, five, and six
remain overly broad, giving too much discretion to the Probation
Office.

Disputed Terms of Supervised Release

      "A sentencing court may order a special condition of
supervised release that is 'reasonably related' to several of
the statutory factors governing the selection of sentences,
` involves no greater deprivation of liberty than is reasonably
necessary' for several statutory purposes of sentencing, and is
consistent with Sentencing Commission policy statement." (United
States v. Sofsky, 287 F.3d 122, 126 (2d Cir. 2002) quoting 18
U.S.C. §3583(d) ) . Because proposed conditions four, five, and
six do not conform to the requirements of 18 U.S.0 §3583(d) , we
petition this Court to reject and replace government proposed
conditions four, five, and six.

     Proposed Condition Four

      Proposed condition four should be rejected because it does
not conform with the requirements of the fourth amendment. In order
t o comply, "the monitoring condition must be narrowly tailored,
and not sweep so broadly as to draw wide swath of extraneous
material into its net." U.S. v. Lifshitz, 369 F.3d 173, 190 (2d
Cir. 2004) . Proposed condition four allows the U.S. Probation
O ffice to install "any application or software that allows it to
survey and/or monitor all activity on any computer(s)" Rubel will
use during his life term of supervised release.         (Govt. Mem.
0 4/06/18) ,In addition, Rubel must "allow the probation officer to
c onduct initial and periodic unannounced examinations of any
[ d]evice(s)   that are subject to monitoring." Id. Therefore,
because of the overly broad scope of proposed condition four, it
should be rewritten in a way that limits the Probation Office's
monitoring activities.

     Conditions   of   supervised     release    that   infringe     on   a
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supervisee's constitutional rights are permitted. U.S. v. Knights,
5 34 U.S. 112,119(2001) . "[A] court granting probation may impose
reasonable conditions that deprive the offender of some freedoms
enjoyed by law abiding citizens." Id. The deprivation, however,
must remain reasonably related to the sentencing purpose. In cases
involving    computer    monitoring  as    a  special   condition,
reasonableness can be attained by narrowing the scope of the
computer monitoring program. Lifshitz, 369 F.3d at 188. In
Lifshitz, Lifshitz was convicted of receiving child pornography
and sentenced to probation by this Court. Id. at 175. The computer
monitoring condition— implemented as a special condition of his
supervised release— was held to be overly broad by the Second
Circuit. Id. at 193. The condition indicated that "the defendant
shall consent to the installation of systems that enable the
probation office or designee to monitor and filter computer use,
on a regular or random basis, on any computer owned or controlled
by the defendant." Id. at 190-191. The Second Circuit analogized
the continuous computer monitoring this condition allowed for to
" searching his diary or inspecting his closets," a condition too
broad and not reasonably related to Lifshitz's terms of supervised
release. Id. at 192.

      Monitoring programs can be implemented in a variety of forms.
The court in Lifshitz recognized this and noted the difference in
breadth, and reasonableness, different monitoring programs can
have. Id. at 191. Comparing computer monitoring to permissible
probationary drug testing, the Court described software which
"alerted probation office only when Lifshitz was engaging in
impermissible communications over e-mail or the Internet" as being
comparable to permissible drug testing. Id. This was in contrast
to the overly broad condition imposed on Lifshitz which was
equivalent to a drug test where the Probation Office also screens
urine   "to ascertain all medical conditions       from which the
individual suffered or to figure out his or her favorite food."
Id. Because the computer monitoring condition did not represent a
"close and substantial relation" to Lifshitz's sentencing aims of
rehabilitation and deterrence, the condition was vacated and
remanded in hopes that the district court would implement an
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appropriate  and more   narrowly        tailored    computer    monitoring
technique. Id. at 192-193.

      Proposed condition   four,   like the   computer monitoring
condition in Lifshitz, is too broad. According to the government,
condition four is justified because Rubel used the internet to
c ommit his offenses, and because he previously attempted to
c ircumvent the monitoring condition. (Govt. Mem. 04/06/18) . While
it is not disputed that some monitoring is warranted, proposed
condition four allows the Probation Office to monitor all of
Rubel's computer activity, including that which has nothing to do
with his conviction. This condition amounts to an intrusion of
Rubel's privacy that goes far beyond what is necessary for
sentencing purposes. Instead, this Court should implement a
condition that specifies a scope of monitoring less broad than
"all activity on any computer(s) ." (Govt. Mem. 04/06/18) Thus,
proposed condition four should be replaced for a more narrowly
tailored computer monitoring condition.

     Proposed Condition Five

       Proposed condition five should also be rejected because it
is "a greater deprivation of liberty than is reasonably
necessary for [the] several statutory purposes of sentencing."
Sofsky, 287 F.3d at 126. Further, this condition violates the
due process requirement that "the conditions of supervised
release be sufficiently clear to 'give the person of ordinary
intelligence a reasonable opportunity to know what is
prohibited, so that he may act accordingly. '" U.S. v. Simmons,
3 43 F.3d 72, 81 (2d Cir. 2003) (quoting U.S v. Cabot, 325 F.3d
3 84, 385 (2d Cir. 2003) ) . Additionally, proposed condition five
does not serve the sentencing objectives typically associated
with an offense akin to that of Rubel. These objectives include,
inter alia, "therapy and rehabilitation, as well as the welfare
o f the community." United States v. Johnson, 446 F.3d 272, 281
 ( 2d Cir. 2006) . Since proposed condition five would have the
e ffect of overly restricting Rubel's access to the internet, it
should be rejected.
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     Proposed Condition Five states:

           5 . Conditions Ensuring Compliance With Terms of Use

           The defendant will not access any websites,
           chatrooms,    instant    messaging,  or    social
           networking sites where the defendant's criminal
           history—including this conviction—would render
           such access in violation of the terms of service
           o f that website, chatroom, instant messaging, or
           social networking site.

( Govt. Mem. 04/06/18) .

      Allowing condition five to stand would unreasonably
restrict Rubel's access to the internet. According to the
Government, "[t]he individualized justification for this
condition is that private sites have determined that certain
individuals should be barred from using their sites, and such
use is analogous to a digital trespass." (Govt. Mem. 04/06/18) .
However, this condition gives no regard to the fact that terms
o f service are often long, convoluted and non-intuitive. For
instance, Facebook, a social networking site that does not allow
c onvicted sex offenders to use their site, owns Foursquare, a
social networking site premised on location sharing that has no
such restriction. Kashmir Hill, So Which Social Networking Sites
Can Sex Offenders Actually Use?, Forbes (June 21, 2012, 12:20
PM) , https://www.forbes.com/sites/kashmirhill/2012/06/21/so-
which-social-networking-sites-can-sex-offenders-actually-
use/#4falf724cba4. Requiring Rubel to study the terms of service
o f every single website he seeks access to is a burdensome
barrier that overly constrains Rubel's access to the internet.
Thus, proposed condition five is an unreasonable special
condition.

     Proposed condition five also presents a due process
violation. It places Rubel in a position where he could easily
be found to have violated the terms of his supervised release
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due to misreading, misunderstanding or misinterpreting a
website's terms. Thus, this condition does not adequately signal
" what conduct will constitute a violation," and creates due
process issues. Simmons, 343 F.3d at 81. Considering private
entities draft their own terms of service, said private entities
should be the ones to monitor and enforce such restrictions.
Ultimately, a condition dealing exclusively with the terms of
service of a private entity cannot be said to be reasonably
related to Rubel's sentencing goals.

     Proposed Condition Six

      Special conditions must not be vague or overly broad. They
c annot be worded in a way that allow probation officers ". . .
t o decide the nature or extent of the defendant's punishment."
Matta, 777 F.3d at 123. The Probation Office is to implement and
enforce the conditions of supervised release set by this Court,
not set the conditions itself. Id. at 122. Proposed condition
six should be rewritten or replaced since it gives the Probation
Office too much discretion over one of Rubel's special
conditions of supervised release. Proposed conditions six
currently states:

           6 . Conditions Ensuring Rubel's Ability to Comply
               With Other Conditions

           The defendant will inform the U.S. Probation Office
           prior to accessing any website for the first time,
           and will not access any such websites until access
           is approved by the U.S. Probation Office. The U.S.
           Probation Office must timely approve any such
           access unless such access is otherwise barred by
           t erms of the defendant's supervised release.

( Govt. Mem. 04/06/18) .

     Condition six has the potential to act as a temporary
blanket ban on internet access, a condition this Court did not
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intend when it implemented the Computer Monitoring Program.
 (11/13/17 Tr. 6) . Although blanket internet bans are
permissible, they should not be imposed when monitoring is
sufficient. Sofsky, 287 F.3d at 127. With the imposition of
condition six, Rubel would be denied access to the internet
until his Probation Officer decides—website by website—that such
access is permissible. Although the condition stipulates this
must be done in a timely manner, it gives too much discretion to
the probation officer to decide what a "timely" manner entails.

     Essentially, condition six denies Rubel access to every
website until his Probation Officer decides otherwise. Surely, a
website to purchase academic books—say Textbooks.com—should not
need pre -approval by a probation officer before Rubel can visit
the site. To require pre -approval for all websites, no matter
how unrelated they are to his criminal history, is to start from
a blanket ban which is only removed at the discretion of his
Probation Officer.

      Instead, this Court should narrowly tailor this condition
by specifying categories of websites that are off limits or need
pre -approval while relying on monitoring for the rest of the
internet. For example, social media, chatrooms, and any website
f alling within the definition of pornography as defined in
condition two could be categories which require pre -approval.
Although this categorical approach could encounter issues when a
website does not easily fit into a category, a probation
officer, through their monitoring efforts, would still have the
f inal call on whether a website can be accessed or not.
Therefore, in order to avoid giving Rubel's Probation Officer
too much discretion, this Court should replace condition six
with a more narrowly tailored condition.

Conclusion

     For the above -mentioned reasons, this Court should accept
the Government's recommendation seeking to amend and replace
Rubel's special conditions of supervised release. Special
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conditions one, two, three, and seven are acceptable. However,
because proposed conditions four, five, and six give too much
discretion to Rubel's Probation Officer, they should be
rewritten or replaced.

                                Respectfully submitted,



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cc: All Counsel
